Case 2:23-md-03080-BRM-LDW       Document 277     Filed 09/06/24   Page 1 of 22 PageID:
                                       8554



 Brian W. Carroll, Esq.
 McCARTER & ENGLISH, LLP
 Four Gateway Center
 100 Mulberry Street
 Newark, NJ 07102
 Tel.: (973) 639-2020
 James P. Rouhandeh, Esq. (pro hac vice)
 David B. Toscano, Esq. (pro hac vice)
 DAVIS POLK & WARDWELL LLP
 450 Lexington Avenue
 New York, NY 10017
 Tel.: (212) 450-4000
 Neal A. Potischman, Esq. (pro hac vice)
 Andrew Yaphe, Esq. (pro hac vice)
 DAVIS POLK & WARDWELL LLP
 1600 El Camino Real
 Menlo Park, CA 94025
 Tel.: (650) 752-2000
 Attorneys for Defendant Novo Nordisk Inc.

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                             Case No. 2:23-md-3080 (BRM)(RLS)

 IN RE: INSULIN PRICING                      MDL No. 3080
 LITIGATION



 This Document Relates to:
 The State of Mississippi, ex rel. Lynn
 Fitch, Attorney General v. Eli Lilly and
 Company, et al.
 Case No. 2:23-cv-04364 (BRM)(RLS)

                  MANUFACTURER DEFENDANTS’
       REPLY IN SUPPORT OF MOTION FOR JUDGMENT ON THE
                          PLEADINGS
Case 2:23-md-03080-BRM-LDW                      Document 277              Filed 09/06/24           Page 2 of 22 PageID:
                                                      8555



                                          TABLE OF CONTENTS

                                                                                                                       PAGE


 INTRODUCTION .....................................................................................................1

 ARGUMENT .............................................................................................................2

          I.       The State’s Claims as to GLP-1s Are Preempted by Federal
                   Law ........................................................................................................2

                   A.       GLP-1s Are Covered by Patents Owned by
                            Manufacturers .............................................................................2

                   B.       The State’s Claims Are Pricing Claims and Therefore
                            Are Preempted.............................................................................4

                   C.       The State Does Not Plead “Bad Faith in the Marketplace” ........7

          II.      The State Fails to Adequately Allege Any Unlawful Conduct as
                   to GLP-1s ............................................................................................10

                   A.       The Mississippi Court Did Not Consider GLP-1s ....................11

                   B.       The Allegations in the Third Amended Complaint
                            Regarding GLP-1s Are Insufficient ..........................................12

 CONCLUSION ........................................................................................................15
Case 2:23-md-03080-BRM-LDW                   Document 277           Filed 09/06/24         Page 3 of 22 PageID:
                                                   8556



                                     TABLE OF AUTHORITIES

                                                                                                         PAGE(S)


 Bibbs v. Trans Union LLC,
   43 F.4th 331 (3d Cir. 2022) ................................................................................. 2
 Biotechnology Indus. Org. v. D.C.,
   496 F.3d 1362 (Fed. Cir. 2007) ....................................................................... 4, 7
 Blanchard Sec. Co. v. Rahway Valley R.R. Co.,
   2004 WL 7329960 (D.N.J. Dec. 27, 2004) ......................................................... 2
 Com. of Pa. ex rel. Zimmerman v. PepsiCo, Inc.,
   836 F.2d 173 (3d Cir. 1988) .............................................................................. 14
 In re DDAVP Indirect Purchaser Antitrust Litig.,
    903 F. Supp. 2d 198 (S.D.N.Y. 2012) ................................................................. 9
 Dow Chemical Co. v. Exxon Corp.,
   139 F.3d 1470 (Fed. Cir. 1998) ........................................................................... 8
 In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices & Antitrust
 Litig.,
    336 F. Supp. 3d 1256 (D. Kan. 2018) ........................................................... 9-10
 FTC v. Actavis, Inc.,
   570 U.S. 136 (2013) ............................................................................................ 8
 Hunter Douglas, Inc. v. Harmonic Design, Inc.,
   153 F.3d 1318 (Fed. Cir. 1998) ....................................................................... 7, 8
 In re Insulin Pricing Litig.,
    2020 WL 831552 (D.N.J. Feb. 20, 2020) .......................................................... 15
 In re Loestrin 24 Fe Antitrust Litig.,
    261 F. Supp. 3d 307 (D.R.I. 2017) ...................................................................... 9
 Mississippi ex rel. Fitch v. Eli Lilly and Co.,
   620 F. Supp. 3d 532 (S.D. Miss. 2022) ............................................................. 11
 Picone v. Shire PLC,
    2017 WL 4873506 (D. Mass. Oct. 20, 2017) ...................................................... 9

                                                          ii
Case 2:23-md-03080-BRM-LDW                    Document 277            Filed 09/06/24         Page 4 of 22 PageID:
                                                    8557



 SEPTA v. Gilead Scis., Inc.,
   102 F. Supp. 3d 688 (E.D. Pa. 2015) .......................................................... 5, 6, 7
 Studio 010 Inc. v. Digital Cashflow LLC,
    2022 WL 1215529 (W.D. Wash. Apr. 4, 2022) .................................................. 9
 Walzer v. Muriel Sibert & Co.,
   447 F. App’x 377 (3d Cir. 2011) ....................................................................... 12
 Wolfington v. Reconstructive Orthopaedic Assocs. II PC,
   935 F.3d 187 (3d Cir. 2019) .............................................................................. 13
 Worth v. Unilever United States, Inc.,
   2024 WL 3326039 (D.N.J. July 8, 2024) .......................................................... 14
 Zenith Elecs. Corp. v. Exzec, Inc.,
   182 F.3d 1340 (Fed. Cir. 1999) ....................................................................... 8-9

                                              STATUTES & RULES

 Fed. R. Civ. P. 12(b)(6) ...................................................................................... 2, 12
 Fed. R. Civ. P. 12(c) ........................................................................................... 2, 12




                                                          iii
Case 2:23-md-03080-BRM-LDW        Document 277     Filed 09/06/24   Page 5 of 22 PageID:
                                        8558



                                  INTRODUCTION
       Mississippi’s opposition concedes, as it must, that claims regarding excessive

 pricing of patented medications are preempted by federal patent law.              That

 concession is fatal to Mississippi’s claims regarding glucagon-like peptide-1

 receptor agonists (“GLP-1s”), which are patented non-insulin medications. In an

 effort to avoid preemption, Mississippi (the “State”) tries to take refuge in a line of

 Federal Circuit authority that allows state law claims to advance against patent

 holders that have engaged in bad faith market tactics by abusing the patent system.

 The State invites the Court to make new law and extend that line of cases to general

 claims of corporate misconduct, without any allegations of unlawful behavior related

 to the validity of a patent. The Court should decline the invitation.

       Nor has the State pleaded any other viable claim for relief relating to GLP-1s,

 which are materially different from the insulin products at the heart of the supposed

 “Insulin Pricing Scheme” at issue here. The State seeks to elide the plain differences

 between insulin products and GLP-1s, and even tries to effectively amend its

 complaint in its opposition brief. These attempts fail, because the complaint is

 devoid of any factual allegations suggesting wrongdoing as to GLP-1s.

        Accordingly, judgment should be granted on the pleadings as to the State’s

 GLP-1 claims.




                                           1
Case 2:23-md-03080-BRM-LDW         Document 277     Filed 09/06/24   Page 6 of 22 PageID:
                                         8559



                                     ARGUMENT1

     I.      The State’s Claims as to GLP-1s Are Preempted by Federal Law2

             A.    GLP-1s Are Covered by Patents Owned by Manufacturers
          The State’s main argument on preemption begins with a remarkable

 proposition: that there is an absence of proof as to whether the GLP-1 medications

 are under patent.3 Opp. at 12-13.

          Not so. In the opening brief, Manufacturers identified nearly a dozen patents

 that cover the GLP-1 products at issue. Br. at 6 n.5. Each patent on its face

 demonstrates the date of issue, the presumptive owner of that patent (thus showing

 that each of the GLP-1s is owned by one of the Manufacturers), and the scope of

 what the patent covers—a GLP-1 agonist molecule that mimics the GLP-1 hormone




 1
   As explained in the opening brief, “[a] Rule 12(c) motion is governed by the same
 standards as a Rule 12(b)(6) motion.” Br. at 8 (citing Bibbs v. Trans Union LLC, 43
 F.4th 331, 339 (3d Cir. 2022)). The State’s citation of Blanchard Sec. Co. v. Rahway
 Valley R.R. Co., 2004 WL 7329960, at *3 (D.N.J. Dec. 27, 2004) (Opp. at 4) is
 inapposite because it relies on opinions published before the Supreme Court’s Iqbal
 and Twombly decisions that cannot be reconciled with those holdings.
 2
    Manufacturers separately raised a different preemption argument in their
 supplemental brief in support of the motions to dismiss filed in this MDL track. Dkt.
 No. 190-51, at 3-4.
 3
   The State also erroneously suggests that Manufacturers “did not assert patent law
 as a defense.” Opp. at 1. In fact, each Manufacturer’s answer asserted as a defense
 that the State’s claims are preempted by federal law. See Mississippi v. Eli Lilly &
 Co. et al., No. 21-cv-00674 (S.D. Miss. Oct. 21, 2021), Dkt. No. 116 at 66; Dkt. No.
 117 at 167; Dkt. No. 118 at 74.

                                            2
Case 2:23-md-03080-BRM-LDW         Document 277   Filed 09/06/24   Page 7 of 22 PageID:
                                         8560



 produced in the body.4 These patents correspond to each Manufacturer’s GLP-1s

 that the State seeks to put at issue.

       Despite claiming there is an absence of proof, the State does not contest the

 fact that these patents exist, the date each patent issued, that Manufacturers are

 assignees and/or applicants on the face of the patents, or that the GLP-1s were under

 patent during the relevant time period. Nor could it. Indeed, as other complaints in

 the MDL allege, Manufacturers “continue to enjoy patent protection of their

 respective GLP-1 agonist molecules through at least 2030, if not later.” E.g., Albany

 County Second Am. Compl. ¶ 258, In re Insulin Pricing Litig., No. 23-md-3080

 (D.N.J. Apr. 24, 2024), Dkt. No. 158.5 Nor does the State dispute that it is proper

 for the Court to take judicial notice of public records—i.e., the patents at issue.

 There can be no serious dispute that the GLP-1s are under patent.




 4
    These patents—government records whose truth and accuracy cannot be
 reasonably be questioned—have been publicly available since the date of issue and
 were easily accessible to the State through a simple search using the patent numbers
 Manufacturers identified (Br. at 6 n.5). See Patent Center, U.S. Patent and
 Trademark Office, https://patentcenter.uspto.gov/. Manufacturers also attach the
 relevant patents to this brief for the Court’s convenience. See Decl. of Andrew
 Yaphe, Exs. 1-11.
 5
   See also Lake County Am. Compl. ¶ 257, In re Insulin Pricing Litig., No. 23-md-
 3080 (D.N.J. Apr. 24, 2024), Dkt. No. 159; King County Second Am. Compl. ¶ 293,
 In re Insulin Pricing Litig., No. 23-md-3080 (D.N.J. Apr. 24, 2024), Dkt. No. 160.

                                           3
Case 2:23-md-03080-BRM-LDW        Document 277     Filed 09/06/24   Page 8 of 22 PageID:
                                        8561



           B.        The State’s Claims Are Pricing Claims and Therefore Are
                     Preempted

                1.     The State concedes that pricing claims are preempted
       Because the State’s claims target patented products, they are preempted by

 federal law. Binding Federal Circuit law holds that Congress—not the states—is

 “the promulgator of patent policy.” Br. at 9 (citing Biotechnology Indus. Org. v.

 D.C., 496 F.3d 1362, 1372-73 (Fed. Cir. 2007)).6 State law claims that seek to

 penalize high prices are thus preempted as an improper attempt to “re-balance the

 statutory framework of rewards and incentives” that Congress created. Id. at 10

 (citing Biotech, 496 F.3d at 1373-74). And in its opposition, the State concedes that

 claims based upon a patent holder’s setting of prices are preempted by federal patent

 law. Opp. at 14, 24-26 (conceding preemption applies to “pricing decisions”).

                2.     The State’s claims are pricing claims
       The State’s concession that pricing claims are preempted forecloses the

 State’s claims as to GLP-1s. As explained in the opening brief and the State’s own

 complaint, the State’s core theory is that the price of diabetes medications, including

 GLP-1s, is “excessive,” “exorbitant,” and “grossly inflated and false” due to the

 “Insulin Pricing Scheme.” Third Am. Compl. (“TAC”) ¶¶ 30, 279, 359, 361, 522.

 The State further alleges that “Manufacturer Defendants artificially and willingly



 6
  As Manufacturers have explained—and as the State does not dispute—Federal
 Circuit precedent on patent law is binding on this Court. Br. at 9 & n.6.
                                           4
Case 2:23-md-03080-BRM-LDW        Document 277      Filed 09/06/24    Page 9 of 22 PageID:
                                        8562



 raise their prices,” which has led to “outrageously inflated price[s]” from which

 “Defendants . . . profit immensely.” Id. ¶¶ 17-18, 20. Indeed, the State’s opposition

 states that its claim is that Manufacturers “repeatedly and in lockstep raised . . .

 prices.” Opp. at 15 (emphasis added).7 And the State’s counsel has explained that

 “the States’ claims do not seek” to change how Manufacturers report their prices,

 but instead challenge “unlawful prices.” Plfs.’ Opp’n to Mfrs.’ Suppl. Mot. to

 Dismiss Br., at 5, 7, Dkt. No. 190-53 (emphasis added). These allegations make

 clear that the State’s core allegations are no different from the plaintiffs’ contentions

 in South-Eastern Pennsylvania Transportation Authority (“SEPTA”), who likewise

 alleged that the defendant charged “exorbitant prices” and “price gouge[d].” Opp.

 at 26; 102 F. Supp. 3d 688, 695-96 (E.D. Pa. 2015).

       The State argues that it is challenging deceptive conduct, but the only

 allegations of deception by Manufacturers are grounded in preempted pricing

 conduct—i.e., that “artificially inflated list prices” of the products at issue “were

 false and completely untethered from the actual prices that Defendants were paid for

 the drugs,” TAC ¶ 435, or that Manufacturers published such “false list prices,” id.

 ¶¶ 437-38; see also id. ¶¶ 433-34, 436, 439-44, 522. The claim that Manufacturers’

 prices are “false” because they are too high—which is all that these allegations


 7
  See also Opp. at 8 (arguing the State stated a claim regarding GLP-1s because
 “Manufacturers have made the same . . . price increases . . . for the GLP-1s” and the
 “same internal Manufacturer pricing committees set the prices”) (emphases added).
                                            5
Case 2:23-md-03080-BRM-LDW          Document 277      Filed 09/06/24    Page 10 of 22 PageID:
                                          8563



  amount to—is simply the claim that the price is unfair in another guise. As such, it

  is an impermissible attempt to regulate prices by making an end-run around the bar

  of the Supremacy Clause. Cf. SEPTA, 102 F. Supp. 3d at 703.

        Nor can the State get around this by targeting Manufacturers’ publication of

  list prices. It is implicit in the right to set prices for a patented product under federal

  law—conduct that, again, the State concedes it cannot challenge, as any such claim

  would be preempted (Opp. at 14, 24-26)—that the Manufacturers may make those

  prices known in the marketplace by “publishing” them. Allowing a plaintiff to

  challenge the publication of prices, while disclaiming any challenge to the prices

  themselves, would be another improper end-run around Federal Circuit precedent

  barring state-law claims challenging the pricing of patented products.

        Similarly, the State’s state-law unfairness and conspiracy claims are

  inextricably intertwined with the Manufacturers’ protected pricing decisions. See

  TAC ¶ 523 (weighing high prices against countervailing benefits to consumers

  “from Defendants egregiously raising the price of the at-issue drugs” to determine

  unfairness); id. ¶¶ 537, 540 (alleged conspiracy predicated on Manufacturers

  agreeing to “inflate the prices of insulin and diabetes medications”).

        Apart from allegations that cannot state a claim—because they pertain to

  Manufacturers’ pricing decisions, and thus are preempted, see supra Part I.B.1—the

  remaining factual allegations supporting the State’s claims of unfair or unlawful


                                              6
Case 2:23-md-03080-BRM-LDW        Document 277     Filed 09/06/24   Page 11 of 22 PageID:
                                        8564



  conduct pertain solely to the PBM Defendants. See TAC ¶¶ 22, 24-26, 303, 309-19,

  350, 353-54.

        The State cannot ignore its own allegations of a “pricing scheme.” See, e.g.,

  id. ¶ 13. Those allegations are fatal to its claims because “plaintiffs simply cannot

  invoke state law to challenge [a defendant’s] overall pricing scheme for its patented

  drugs.” SEPTA, 102 F. Supp. 3d at 707. As such, the State “cannot use state law to

  . . . forc[e] [a drug manufacturer] to lower its prices” or seek to “disgorge profits

  from the sale of [Manufacturers’] patented drugs.” Id. at 703. Yet that is exactly

  what the State attempts to do here. TAC at § IX.B (prayer for relief seeking

  injunctive relief, “restitution” and “disgorgement”).

           C.     The State Does Not Plead “Bad Faith in the Marketplace”
        In an attempt to avoid preemption, the State relies on an inapposite line of

  Federal Circuit cases.8 Opp. at 21. Those cases hold that state law claims may not

  be preempted if the plaintiff can show that “the [defendant] patentholder perpetrated

  fraud before the PTO or acted in bad faith in the marketplace.” Hunter Douglas,

  Inc. v. Harmonic Design, Inc., 153 F.3d 1318, 1337 (Fed. Cir. 1998). Because the


  8
   The State devotes a number of pages to the threshold question whether patent law
  may preempt state law claims at all. See Opp. at 15-20. Binding Federal Circuit
  precedent—including the State’s own cited case—has resolved that issue. See, e.g.,
  Hunter Douglas, Inc. v. Harmonic Design, Inc., 153 F.3d 1318, 1337 (Fed. Cir.
  1998) (explaining that in some circumstances a plaintiff can avoid preemption by
  pleading fraud on the PTO or “bad faith in the marketplace”); Biotech, 496 F.3d at
  1365 (holding that a state law regulating price of patented products was preempted).
                                            7
Case 2:23-md-03080-BRM-LDW         Document 277      Filed 09/06/24    Page 12 of 22 PageID:
                                         8565



  State does not allege that Manufacturers “perpetrated fraud before the PTO,” the

  only prong of Hunter Douglas or its progeny that the State can try to assert is “bad

  faith in the marketplace.” But the State fails to allege this within the meaning of

  applicable caselaw.

        In contrast to all of the cases cited by the State, there is no allegation here that

  any Manufacturer misused its patents or engaged in a reverse payment scheme9 with

  a competitor—which is what “bad faith in the marketplace” entails under the Federal

  Circuit caselaw on which the State relies. Every one of the State’s cases (see Opp.

  at 20-23) involved allegations that a defendant (1) knowingly enforced an invalid

  patent; (2) engaged in sham patent litigation; or (3) engaged in a reverse payment

  scheme. See Hunter Douglas, 153 F.3d at 1322, 1337 (remanding to district court

  to determine whether allegations of fraud on the PTO and subsequent enforcement

  of an “allegedly invalid and unenforceable” patent was conduct that showed “bad

  faith in the marketplace”); Dow Chemical Co. v. Exxon Corp., 139 F.3d 1470, 1472

  (Fed. Cir. 1998) (plaintiffs alleged that the patent at issue was invalid); Zenith Elecs.

  Corp. v. Exzec, Inc., 182 F.3d 1340, 1355 (Fed. Cir. 1999) (bad faith marketplace

  conduct defined as a patentee “asserting its patent in the marketplace [despite]



  9
    A “reverse payment” generally arises when a patent holder settles a patent
  infringement lawsuit by paying the accused infringer; in certain circumstances, such
  activity may be challenged under antitrust law. See FTC v. Actavis, Inc., 570 U.S.
  136, 140-41 (2013).
                                             8
Case 2:23-md-03080-BRM-LDW       Document 277     Filed 09/06/24   Page 13 of 22 PageID:
                                       8566



  allegedly having known that the patent was unenforceable due to inequitable

  conduct”). In re Loestrin 24 Fe Antitrust Litig., 261 F. Supp. 3d 307, 357 (D.R.I.

  2017) (plaintiffs alleged fraud on the PTO and subsequent enforcement of the patent

  “in the marketplace with bad faith”); In re DDAVP Indirect Purchaser Antitrust

  Litig., 903 F. Supp. 2d 198, 215-18, 224 (S.D.N.Y. 2012) (holding plaintiffs

  adequately pled “fraud on the PTO and bad-faith enforcement of the patent” through

  “an invalid Orange Book listing, sham patent infringement litigation, and a sham

  citizen petition”); Picone v. Shire PLC, 2017 WL 4873506, at *14 (D. Mass. Oct.

  20, 2017) (state law claim challenging unlawful reverse payment scheme); Studio

  010 Inc. v. Digital Cashflow LLC, 2022 WL 1215529, at *4 (W.D. Wash. Apr. 4,

  2022) (plaintiff “may proceed with its claims that involve the wielding of an invalid

  patent to interfere with its contractual relations with Amazon.com and to unfairly

  compete by improperly blocking [plaintiff’s] access to the sole marketplace for its

  products”).

        Indeed, the EpiPen case on which the State relies distinguished Biotech and

  SEPTA because the plaintiffs had sufficiently alleged that the defendant engaged in

  all three of the types of patent-related conduct noted above: “patent misuse, reverse




                                           9
Case 2:23-md-03080-BRM-LDW           Document 277    Filed 09/06/24   Page 14 of 22 PageID:
                                           8567



  ‘pay-for-delay’ settlements, and sham citizen’s petitions.” 336 F. Supp. 3d 1256,

  1334 (D. Kan. 2018).10

             By contrast, there are no such allegations of an abuse of the patent system

  here—as the State in fact concedes, emphasizing that Manufacturers’ alleged

  conduct “is wholly separate and unrelated to patent law.” Opp. at 4. The State thus

  invites the Court to create new law and find potential state law liability based on an

  amorphous form of “bad faith in the marketplace” that is not grounded in controlling

  Federal Circuit case law. But such a holding would allow any plaintiff who wishes

  to regulate the price of a patented product to avoid preemption simply by claiming

  under state consumer protection law that the patent holder did something—

  anything—wrong. Such a ruling would expand Hunter Douglas far beyond its

  current boundaries. Because the State’s allegations do not fall within the Hunter

  Douglas line of cases, its claims as to GLP-1s are squarely preempted under Biotech.

       II.      The State Fails to Adequately Allege Any Unlawful Conduct as to
                GLP-1s
             The opening brief explained that the Mississippi court’s motion-to-dismiss

  decision relied on the State’s allegations regarding insulin, and that none of those

  allegations are applicable to GLP-1s. Br. at 14. In opposition, the State contends


  10
    The State concedes that it is not asserting an antitrust claim. Opp. at 24. The
  reverse payment caselaw, which is predicated on paying off a competitor, does not
  apply because the State does not allege that Manufacturers and PBMs are
  competitors.
                                              10
Case 2:23-md-03080-BRM-LDW        Document 277      Filed 09/06/24   Page 15 of 22 PageID:
                                        8568



  that the Mississippi court already considered, and rejected, the lack of allegations

  against GLP-1s, and that the complaint’s allegations as to those products are

  sufficient. Opp. at 5-11. The Court should reject both arguments.

            A.    The Mississippi Court Did Not Consider GLP-1s
        Nothing in the Mississippi court’s cursory decision denying Manufacturers’

  motion to dismiss suggests that it considered, much less rejected, the arguments

  presented in this motion. In denying Manufacturers’ motion, the court held that “the

  State delineates each Manufacturer Defendant’s alleged participation in the ‘Insulin

  Pricing Scheme.’” Mississippi ex rel. Fitch v. Eli Lilly and Co., 620 F. Supp. 3d

  532, 543 (S.D. Miss. 2022) (citing, among other allegations, TAC ¶¶ 265, 267, and

  270-71). But as explained in the opening brief, these allegations are specific to

  insulin and thus cannot have served as the basis for that court to reject the arguments

  presented in this motion. Br. at 13-14. Indeed, the Mississippi court’s decision does

  not so much as mention GLP-1s, and the court itself wrote that “[t]his case is about

  insulin drug prices.” 620 F. Supp. 3d at 536; see also id. at 537 (finding that the

  State’s complaint “contains in-depth detail about specific insulin drug pricing over

  time” and highlighting the State’s allegation that “the price of certain insulins has

  increased by more than 1000% since 2003”).

        Even if the Mississippi court had referred to GLP-1 medications or the handful

  of allegations that the complaint makes regarding them, the State does not cite any


                                            11
Case 2:23-md-03080-BRM-LDW       Document 277      Filed 09/06/24    Page 16 of 22 PageID:
                                       8569



  case law suggesting that Manufacturers are precluded from filing a Rule 12(c)

  motion on an argument that they did not raise in their Rule 12(b)(6) motion.11 And

  in fact, the opposite is true. See, e.g., Walzer v. Muriel Sibert & Co., 447 F. App’x

  377, 384 (3d Cir. 2011) (argument not raised in Rule 12(b)(6) motion remains

  available “in a motion for judgment on the pleadings under Rule 12(c)”).

  Manufacturers did not raise—and the Mississippi court did not address—the

  arguments as to GLP-1s presented here. Under black-letter law, Manufacturers may

  now raise those arguments in this motion.

           B.     The Allegations in the Third Amended Complaint Regarding
                  GLP-1s Are Insufficient
        Unable to point to any specific allegations about GLP-1s in its complaint, the

  State incorrectly claims its allegations about insulins are about GLP-1s. Opp. at 6-

  9. The State also attempts to amend its complaint through its opposition briefing.

  See, e.g., Opp. at 9 n.5. The Court should reject its arguments.

        Contrary to the State’s contention, the Third Amended Complaint does not

  discuss “Insulins and GLP-1s” in the portions of the complaint that the opposition

  cites. For example, the opposition contends that “[i]nsulins and GLP-1s cost the

  Manufacturers very little to produce” (Opp. at 7)—but there are no factual

  allegations in any of the cited paragraphs regarding how much it costs to produce


  11
    The State’s suggestion that Manufacturers’ Rule 12(c) motion is a belated motion
  for reconsideration (Opp. at 5) is likewise unsupported by any authority.
                                           12
Case 2:23-md-03080-BRM-LDW        Document 277     Filed 09/06/24   Page 17 of 22 PageID:
                                        8570



  GLP-1s. See TAC ¶¶ 13, 272, 350, 440-41, 523. Similarly, the opposition contends

  that Manufacturers “make the same Manufacturer Payments to PBMs for insulins

  and GLP-1s . . . and do so in exchange for preferential formulary placement of those

  drugs.” Opp. at 8. Again, however, the cited paragraphs of the complaint lack any

  factual allegations specific to GLP-1s. See TAC ¶¶ 20-23, 315, 317, 350, 386, 390,

  397-400, 545.     Nor does the Complaint allege that GLP-1s are treated “as

  interchangeable commodities”—in fact, none of the State’s citations support that

  claim. Opp. at 7 (citing, e.g., TAC ¶ 275, which lists release dates for GLP-1s). At

  most, the allegations referenced in the State’s opposition—apart from the paragraphs

  and figure identified in the Manufacturers’ opening brief—refer generally to “at-

  issue drugs,” and say nothing about GLP-1s in particular. See, e.g., TAC ¶¶ 13, 20-

  23, 386, 432-43, 463-65, 467-68, 471, 475, 522, 545.

        Perhaps recognizing the lack of GLP-1-related factual allegations, the State

  impermissibly attempts to amend the complaint by citing to articles and studies

  published after it filed the complaint, as well as portions of documents that were not

  previously included in the complaint.12 See, e.g., Opp. at 7 n.3, 9 n.5. But, as the


  12
     Insofar as the State suggests that Manufacturers’ answers rather than the
  allegations in its own complaint are what the Court should look to (Opp. at 11 n.7),
  the suggestion is wrong as a matter of law. See Wolfington v. Reconstructive
  Orthopaedic Assocs. II PC, 935 F.3d 187, 195 (3d Cir. 2019) (“[I]n deciding a
  motion for judgment on the pleadings, a court may only consider ‘the complaint,
  exhibits attached to the complaint, matters of public record, as well as undisputedly

                                           13
Case 2:23-md-03080-BRM-LDW        Document 277      Filed 09/06/24    Page 18 of 22 PageID:
                                        8571



  Third Circuit has explained, “it is axiomatic that the complaint may not be amended

  by the briefs in opposition to a [dispositive] motion.” Com. of Pa. ex rel. Zimmerman

  v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988) (cleaned up); see also Worth v.

  Unilever United States, Inc., 2024 WL 3326039, at *1 n.1 (D.N.J. July 8, 2024)

  (Martinotti, J.) (declining to “consider the additional factual allegations contained in

  Plaintiff’s Opposition”).

        The State’s other attempts to rebut the Manufacturers’ arguments are similarly

  unavailing.13 The State misconstrues the point about R&D spending and seeks to

  manufacture a factual dispute where none exists. Opp. at 10-11. Whether the R&D

  costs for GLP-1s were in the millions or hundreds of millions (or, in fact, billions)

  of dollars is not at issue. Rather, the point is that Manufacturers indisputably spent

  money on R&D to develop GLP-1s, making them different in kind from insulins,

  which the State alleges are old drugs that had no R&D costs for the time period at

  issue in this litigation. TAC ¶¶ 270, 273 (“Despite . . . no new research and




  authentic documents if the complainant’s claims are based upon these documents.”’)
  (citation omitted).
  13
     The State incorrectly suggests that because the Court entered a discovery plan
  including GLP-1s, the Court already rejected the arguments raised in this motion.
  Opp. at 11. Not so. The order entering a discovery plan contemplates motion
  practice on this issue, insofar as it states that discovery would encompass GLP-1s
  “[a]bsent Court order or party agreement otherwise.” Case Management Order #10
  at § II(D), Dkt. No. 198 (emphasis added).


                                            14
Case 2:23-md-03080-BRM-LDW         Document 277     Filed 09/06/24   Page 19 of 22 PageID:
                                         8572



  development, the reported price of insulins has risen astronomically over the last (15)

  years.”) (emphases added).

        Moreover, the fact that this Court previously considered an argument about

  new insulin drugs in the consumer case has no bearing on this issue. Opp. at 9-10.

  The plaintiffs in that action filed a second amended complaint that included new

  allegations regarding the latest generation of insulin products, while claiming that

  most insulins were functionally interchangeable. In re Insulin Pricing Litig., 2020

  WL 831552, at *4 (D.N.J. Feb. 20, 2020). That is not the case here, where the State’s

  own allegations admit that GLP-1s are new and in an entirely different therapeutic

  class from insulin products. Br. at 14-15. Thus, the fact that GLP-1 drugs are new

  is directly relevant to their price because, as the State alleges, “research and

  development costs often make up a large percentage of the price of a drug”—

  especially given that there are not and could not be allegations that this category of

  drugs was initially researched “one hundred (100) years ago” (TAC ¶ 270), as the

  State alleges is true of insulin. Br. at 14-15.

                                     CONCLUSION
        For the reasons stated above and in the opening brief, the Court should enter

  partial judgment on the pleadings in Manufacturers’ favor as to the State’s claims

  relating to GLP-1s.




                                             15
Case 2:23-md-03080-BRM-LDW      Document 277    Filed 09/06/24   Page 20 of 22 PageID:
                                      8573



   Dated:   September 6, 2024

   By: /s/ Brian W. Carroll             By: /s/ Liza M. Walsh

        McCARTER & ENGLISH,                    WALSH PIZZI O’REILLY
        LLP                                    FALANGA LLP
        Brian W. Carroll                       Liza M. Walsh
        Four Gateway Center                    Katelyn O’Reilly
        100 Mulberry Street                    Three Gateway Center
        Newark, NJ 07102                       100 Mulberry Street, 15th Floor
        (973) 639-2020                         Newark, NJ 07102
                                               (973) 757-1100
        James P. Rouhandeh
        (pro hac vice)                         JONES DAY
        David B. Toscano                       Michael R. Shumaker
        (pro hac vice)                         (pro hac vice)
        DAVIS POLK &                           Julie E. McEvoy
        WARDWELL LLP                           (pro hac vice)
        450 Lexington Avenue                   William D. Coglianese
        New York, NY 10017                     (pro hac vice)
        (212) 450-4000                         51 Louisiana Ave. NW
                                               Washington, DC 20001
        Neal A. Potischman                     (202) 879-3939
        (pro hac vice)
        Andrew Yaphe                           Attorneys for Defendant
        (pro hac vice)                         Sanofi-Aventis U.S. LLC
        DAVIS POLK &
        WARDWELL LLP
        1600 El Camino Real
        Menlo Park, CA 94025
        (650) 752-2000

        Attorneys for Defendant Novo
        Nordisk Inc.




                                       16
Case 2:23-md-03080-BRM-LDW        Document 277   Filed 09/06/24   Page 21 of 22 PageID:
                                        8574




   By: /s/ Melissa A. Geist

        REED SMITH LLP
        Melissa A. Geist
        Julia A. Lopez
        506 Carnegie Center Suite 300
        Princeton, NJ 08540-7839
        (609) 514-5978

        KIRKLAND & ELLIS LLP
        James F. Hurst (pro hac vice)
        Andrew A. Kassof (pro hac vice)
        Robert B. Ellis (pro hac vice)
        Diana M. Watral (pro hac vice)
        Ryan Moorman (pro hac vice)
        Jason A. Feld (pro hac vice)
        333 West Wolf Point Plaza
        Chicago, IL 60654
        (312) 862-2000

        Attorneys for Defendant
        Eli Lilly and Company




                                          17
Case 2:23-md-03080-BRM-LDW      Document 277     Filed 09/06/24   Page 22 of 22 PageID:
                                      8575



                          CERTIFICATE OF SERVICE

        I certify that I am Attorney at Law of the State of New Jersey and a Member

  of the Bar of this Court and that on this date I caused a copy of Manufacturer

  Defendants’ Reply in Support of Motion For Judgment on the Pleadings, and

  supporting papers, to be served on counsel of record in the above-captioned matter

  via ECF filing.


                                           By: /s/ Brian W. Carroll
                                               Brian W. Carroll

   Dated: September 6, 2024
          Newark, New Jersey




                                         18
